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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11   MISAEL GARCIA CARRANZA,                        Case No. 2:24-cv-00710-SPG-E
12                            Petitioner,           ORDER ACCEPTING FINDINGS,
                                                    CONCLUSIONS, AND
13               v.                                 RECOMMENDATIONS OF UNITED
14                                                  STATES MAGISTRATE JUDGE
     WARDEN, FCC-LOMPOC LOW II,
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16                            Respondent.
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19         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition filed by Misael
20   Garcia Carranza (“Petitioner”), (ECF No. 1 (“Petition”)); the record in this case; and the
21   Report and Recommendation of United States Magistrate Judge, (ECF No. 9 (“Report” or
22   “R. & R.”)). The Petitioner’s last day to object to the Report and Recommendation was
23   May 6, 2024, (R. & R.), but as of the date of this Order, Petitioner has not done so. The
24   Court accepts and adopts the Magistrate Judge’s Report and Recommendation.
25         The Court hereby ORDERS that: (1) the Report and Recommendation of the
26   Magistrate Judge is accepted and adopted; and (2) Judgment shall be entered denying and
27   dismissing the Petition without prejudice.
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 1         The Court further ORDERS the Clerk of Court to serve forthwith a copy of this
 2   Order, the Magistrate Judge’s Report and Recommendation, and the Judgment herein on
 3   Petitioner and counsel for Respondent.
 4         IT IS SO ORDERED.
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 6   DATED: July 5, 2024
 7                                                  HON. SHERILYN PEACE GARNETT
 8                                                  UNITED STATES DISTRICT JUDGE

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